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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, e_); re_l.
PCA INTEGRITY ASSOCIATES, LLP,
Civil Action No. lch0750 (RC)

FILED UNDER SEAL

PURSUANT TO 31 U.S.C. § 3729, §§ §§_q.

Plaintiffs,
v.

NCO FlNANClAL SYSTEMS, INC.
§§ §l-,

Defendants.

 

UNITED STATES' NOTICE OF ELECTION TO
DECLINE INTERVENTION

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies
the Court of its decision to decline to intervene in this action.

Although the United States declines to intervene, we respectfully refer the Court and
parties to 31 U.S.C. § 3730(b)(l), which allows the relator to maintain the action in the name of
the United States; providing, however, that the "action may be dismissed only if the court and the
Attomey General give written consent to the dismissal and their reasons for consenting." Id.
Therefore, the United States requests that, should either the Relator or the Defendants propose
that this action be dismissed, settled, or otherwise discontinued, this Court solicit the written
consent of the United States before ruling or granting its approval.

Furthermore, pursuant to 31 U.S.C. § 3730(0)(3), the United States requests that all
pleadings filed in this action be served upon the United States; the United States also requests
that orders issued by the Court be sent to the Govemment's counsel. The United States reserves
its right to order any deposition transcripts and to intervene in this action, for good cause, at a

later date. The United States also requests that it be served With all notices of appeal.

 

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Finally, the Government requests that the Relator's Complaint, any Amended Complaint,
this Notice, and the attached proposed Order be unsealed. The United States requests that all
other papers on file in this action remain under seal because in discussing the content and extent
of the United States' investigation, such papers are provided by law to the Court alone for the
sole purpose of evaluating whether the seal and time for making an election to intervene should
be extended

A proposed order accompanies this notice.

Respectfully submitted,

JOSEPH H. HUNT
Assistant Attomey General

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United States Attomey

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CERTIFICATE OF SERVICE
l hereby certify that on this%"d;y of September 2018, l caused a copy of the Notice of
Declination and the proposed Order to be served by email and United States l\/lail, postage
prepaid, on:

Andrew Miller

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/s/Darrell C. Valdez
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